Case 1:01-cv-12257-PBS Document 7362-1 Filed 12/23/10 Page 1 of 3

EXHIBIT A

NYOL/KIMS/#446071.2 - 2 -
Case 1:01-cv-12257-PBS Document 7362-1 Filed 12/23/10 Page 2 of 3

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

IN RE PHARMACEUTICAL INDUSTRY

AVERAGE WHOLESALE PRICE LITIGATION MDL No. 1456

Master File No, 01-12257-PBS
THIS DOCUMENT RELATES TO: Subcategory Case. No. 06-11337
State of California, ex rel. Ven-A-Care of the Florida
Keys, Inc. v. Abbott Laboratories, Inc., et al.

Civil Action No. 03-11226-PBS

Hon. Patti B. Saris

“eee” “ee” See!” ee!” “ee” Seeger” “ee”

[PROPOSED] ORDER OF DISMISSAL WITH PREJUDICE
AS TO DEY DRUGS RELEASED UNDER THE SETTLEMENT AGREEMENT

Pursuant to Rule 41(a) of the Federal Rules of Civil Procedure, the State of
California (“State”), acting by and through its Attorney General, Edmund G. Brown Jr., the
relator Ven-A-Care of the Florida Keys, Inc. (“Relator”) (collectively referred to as “Plaintiffs”),
and Dey Pharma, L.P. and Dey, Inc. (collectively, “Dey”) have filed a Stipulation of Dismissal
with Prejudice as to Dey Drugs Released under the Settlement Agreement (the “Stipulation of
Dismissal”), dismissing with prejudice all claims asserted or that could have been asserted
against Dey in the above-captioned action, with respect to the pharmaceutical products listed in
Appendix A to the Settlement Agreement and Release. Upon due consideration of the
Stipulation of Dismissal and the papers on file in the above-captioned action,

IT IS HEREBY ORDERED that, consistent with the terms of the Settlement
Agreement and Release between the State of California, the Relator and Dey, all claims asserted
or that could have been asserted against Dey concerning the Covered Conduct as defined in
Paragraph 3 of the Settlement Agreement and Release shall be dismissed with prejudice, each
party shall bear its own costs except as otherwise provided for in the Settlement Agreement and

Release, and all rights of appeal shall be waived.

NYOI/KEIMS/1446071.2 - 2 -
Case 1:01-cv-12257-PBS Document 7362-1 Filed 12/23/10 Page 3 of 3

Entered this day of , 2010.

Hon. Patti B. Saris
United States District Court

NYO1/KIMS/1446071.2
